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City of New York Department of Correction

 

 

WHAT IS ENHANCED
SUPERVISION HOUSING?

 

 

 

Enhanced Supervision Housing (ESH) is a management tool that allows the Department of
Correction (DOC) to closely monitor the most dangerous inmates in custody, keeping all
inmates and staff safe and reducing the need for punitive segregation. Because most inmates
leaving punitive segregation return to the general population, ESH is a necessary component of
punitive segregation reform that will ensure those with the highest propensity for violence are

safely managed.

 

WHO WILL BE PLACED IN ENHANCED SUPERVISION HOUSING( ESH)?

 

 

ESH is designed for inmates with demonstrated histories of serious jail-based violence.
* Inmates who are known to be infuential-initiators of violence caused by others.
| * Inmates who have slashed or stabbed another inmate.

 

Only a small portion of the population will be considered for ESH.
* Only 10% of inmates engage in rules violations while in custody.
¢ Only 7% of inmates commit violent infractions while in custody.

* Only 250, or 2.2%, of the average daily population can be housed in ESH.

Inmates who are seriously mentally ill will not be placed in ESH; they will be housed in the CAPS
and PACE housing units that are designed specially for their care. There will be no reduction in
services for inmates with mental-health diagnoses who are housed in ESH.

DOC will determine who will be placed in ESH, with an established, regular, review process that
will include input and participation from the Department of Health and Mental Hygiene.

 

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| ESH IS NOT PUNITIVE SEGREGATION

 

ESH inmates will have at least seven hours out of their cells per day, during which they will
interact with staff and other inmates.

| ESH inmates will have access to all programs and services in the housing area. DOC has hired
/a legal coordinator, three chaplains, a social-service counselor, and a grievance coordinator

specifically for the ESH units in order to ensure that services are provided.

ESH is designed to prevent rule violations, not to respond to then.

 

 

 

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